UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In re:
                                                     Case No. 20-10322
The Diocese of Buffalo, N.Y.,
                                                     Chapter 11
                                     Debtor.



                                  NOTICE OF FILING

         PLEASE TAKE NOTICE that, in accordance with the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses for Professionals and Members of

Official Committees [Docket No. 362], Insurance Archaeology Group has filed the Monthly Fee

Statement of Insurance Archaeology Group for Compensation for Services Rendered and

Reimbursement of Expenses as Insurance Archaeologist to The Diocese of Buffalo, N.Y. for the

Period February 1, 2021 Through February 22, 2021, a copy of which is attached hereto and

hereby served upon you.



Dated: April 27, 2021                                INSURANCE ARCHAEOLOGY GROUP


                                               By:          /s/ Michele Pierro
                                                     Michele Pierro, Executive Vice President
                                                     75 Orient Way, Suite 302
                                                     Rutherford, New Jersey 07070
                                                     Telephone: (212) 697-2680
                                                     Email: mpierro@iagltd.com

                                                     Insurance Archaeologist for
                                                     The Diocese of Buffalo, N.Y.




12445792.1 4/27/2021
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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In re:
                                                    Case No. 20-10322
The Diocese of Buffalo, N.Y.,
                                                    Chapter 11
                                       Debtor.


         MONTHLY FEE STATEMENT OF INSURANCE ARCHAEOLOGY GROUP
               FOR COMPENSATION FOR SERVICES RENDERED AND
          REIMBURSEMENT OF EXPENSES AS INSURANCE ARCHAEOLOGIST
               TO THE DIOCESE OF BUFFALO, N.Y. FOR THE PERIOD
                 FEBRUARY 1, 2021 THROUGH FEBRUARY 22, 2021

Name of Applicant:                          Insurance Archaeology Group

Authorized to Provide
Professional Services to:                   The Diocese of Buffalo, N.Y., Debtor-In-Possession

Date of Retention:                          Order entered August 21, 2020 [Docket No. 517]
                                            Nunc Pro Tunc to June 1, 2020

Period for which compensation
and reimbursement is sought:                February 1, 2021 through February 22, 2021

Amount of compensation sought
as actual, reasonable and necessary:        80% of $16,127.50 ($12,902.00)

Amount of expense reimbursement sought
as actual, reasonable and necessary:        $0.00

This is a: X monthly ____ quarterly ____ final application.

This is Insurance Archaeology Group’s ninth monthly fee statement in this case.




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12445792.1 4/27/2021
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Bill To:
           Diocese of Buffalo
           795 Main Street                                                      Invoice Date: 3/31/2021
           Buffalo, NY 14203
           Attention: John M. Scholl                                               Invoice #: 14176




PLEASE NOTE OUR NEW ADDRESS
For services rendered on behalf of Diocese of Buffalo / Matter No. 5023


     Date                          Description                      Hours           Rate           Amount
2/1/2021         DN                                                    6.5000              55.00       357.50
                 Input and update policy data entries into policy
                 spreadsheet

2/1/2021         TW                                                    7.0000          175.00         1,225.00
                 Review Parish Annual Reports for Parishes
                 included in Diocese of Buffalo Insurance
                 Program for Phase II updates

2/1/2021         MP                                                    8.3000          350.00         2,905.00
                 Direct Therese Walker on review of Parish
                 Annual Reports for coverages provided under
                 Diocese insurance plan; continue to review
                 Parish Annual Reports for Phase II updates

2/2/2021         DN                                                    3.5000              55.00       192.50
                 Input and update policy data entries into policy
                 spreadsheet

2/2/2021         MP                                                    3.2000          350.00         1,120.00
                 Review Parish Annual Reports for Phase II
                 updates

2/4/2021         DN                                                    2.5000              55.00       137.50
                 Input and update policy data entries into policy
                 spreadsheet



 PLEASE NOTE OUR NEW ADDRESS
                                                                            Balance Due



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Bill To:
           Diocese of Buffalo
           795 Main Street                                                      Invoice Date: 3/31/2021
           Buffalo, NY 14203
           Attention: John M. Scholl                                               Invoice #: 14176




PLEASE NOTE OUR NEW ADDRESS
For services rendered on behalf of Diocese of Buffalo / Matter No. 5023


     Date                          Description                      Hours           Rate           Amount
2/5/2021         DN                                                    3.0000              55.00       165.00
                 Input and update policy data entries into policy
                 spreadsheet

2/7/2021         MP                                                    6.0000          350.00         2,100.00
                 Review Parish Annual Reports for Phase II
                 updates

2/8/2021         DN                                                    2.5000              55.00       137.50
                 Input and update policy data entries into policy
                 spreadsheet

2/9/2021         DN                                                    3.5000              55.00       192.50
                 Input and update policy data entries into policy
                 spreadsheet

2/13/2021        MP                                                    2.5000          350.00          875.00
                 Review Parish Annual Reports for Phase II
                 updates

2/14/2021        MP                                                    2.2000          350.00          770.00
                 Review Parish Annual Reports for Phase II
                 updates




 PLEASE NOTE OUR NEW ADDRESS
                                                                            Balance Due



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Bill To:
           Diocese of Buffalo
           795 Main Street                                                 Invoice Date: 3/31/2021
           Buffalo, NY 14203
           Attention: John M. Scholl                                          Invoice #: 14176




PLEASE NOTE OUR NEW ADDRESS
For services rendered on behalf of Diocese of Buffalo / Matter No. 5023


     Date                          Description                 Hours           Rate          Amount
2/15/2021          MP                                             5.0000          350.00         1,750.00
                   Review Parish Annual Reports for Phase II
                   updates

2/16/2021          MP                                             6.0000          350.00         2,100.00
                   Review Parish Annual Reports for Phase II
                   updates

2/22/2021          MP                                             6.0000          350.00         2,100.00
                   Review Parish Annual Reports for Phase II
                   updates




 PLEASE NOTE OUR NEW ADDRESS
 Please remit to:
                                                                       Balance Due           $16,127.50
 IAG, Ltd.
 75 Orient Way, Suite 302
 Rutherford, NJ 07070

 IAG Federal ID#
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